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                                                                                                      AUSA Srinivasan

                            United States District Court                                            FILED
                                         For the Western District of Texas                       April 17, 2025
                                                 Austin Division                             CLERK, U.S. DISTRICT COURT
                                                                                             WESTERN DISTRICT OF TEXAS
 United States of America,                                    §
                                                                                                            VAR
                                                                                          BY: ________________________________
                                                              §                                                   DEPUTY
 v.                                                           §
                                                              §            Case Number:
 Elvin Alexis Canelas-Morillo                                 §                           1:25-MJ-453
 AKA Elvin Alexis Canalas Jr., Elvin                          §
 Alexis Canales Jr., Elvin Alexis Canela-                     §
 Murillo, Elvin Ganales-Murio,
 Hector Cardona
                                            CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about October 10, 2023, in the county of Travis, in the Western District of Texas, the defendant,
Elvin Alexis Canelas-Morillo, violated Title 8, United States Code section 1326.

This criminal complaint is based upon the following facts:

On or about October 10, 2023, the defendant, an alien, was found in the Travis County jail, Austin, Texas, within
the Western District of Texas. A deportation officer lodged a detainer after identifying the defendant and
subsequent queries identified the defendant as a previously removed alien.

Investigation and records of the Immigration and Customs Enforcement establish that the defendant is an alien
who was previously removed from the United States to Honduras on or about April 22, 2022, and that he
unlawfully and illegally reentered the United States without having obtained permission from the Attorney
General of the United States or the Secretary for Homeland Security to reapply for admission.




                                                              ______________________________________________
                                                              Signature of Complainant (S. Meade)
                                                              Deportation Officer
                                                              Immigration and Customs Enforcement


Submitted and sworn to electronically and signed by me
pursuant to Fed. R. Crim P. 4.1 and 4(d)


April 17, 2025                                                    Austin, Texas
___________________________________________              at       ________________________________________________
Date                                                              City and State

Susan Hightower
United States Magistrate Judge
___________________________________________                       ________________________________________________
Name & Title of Judicial Officer                                  Signature of Judicial Officer
